                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 20-03561-MFH
LIVINGSCAPES, LLC                                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: jmw0113                      Page 1 of 1                          Date Rcvd: Jul 31, 2020
                                      Form ID: 309F1                     Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 02, 2020.
db             +LIVINGSCAPES, LLC,    PO BOX 91047,    Nashville, TN 37209-9047
7182273         Cassie Burton,    c/o Sherwood Litigation,    201 4th Ave N S 1130,    Nashville TN 37219
7182275        +JOHN DEERE FINANCIAL,    ATTN: BANKRUPTCY DEPT,      PO BOX 6600,   JOHNSTON IA 50131-6600
7182276        +Milessa Thomas,    c/o Christopher Boiano Esq.,     115 Shivel Dr.,   Hendersonville TN 37075-3536
7182277        +PNC BANK,    PO BOX 856177,    LOUISVILLE KY 40285-6177
7182278        +SBA- SMALL BUSINESS ADMIN,      C/O US ATTY OFFICE,    110 9TH AVE SO #A-961,
                 NASHVILLE TN 37203-3870
7182281        +TORO EXMARK,    PO BOX 790449,    Saint Louis MO 63179-0449

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: slefkovitz@lefkovitz.com Aug 01 2020 03:11:52      LEFKOVITZ AND LEFKOVITZ, PLLC,
                 618 CHURCH ST STE 410,   NASHVILLE, TN 37219
7182272        +EDI: AMEREXPR.COM Aug 01 2020 07:03:00      AMERICAN EXPRESS,   ATTN: BANKRUPTCY DEPT,
                 PO BOX 981535,   El PASO TX 79998-1535
7182274         EDI: IRS.COM Aug 01 2020 07:03:00      IRS,   CNTRLZD INSOLVENCY OPRTN,   PO BOX 7346,
                 PHILADELPHIA PA 19101-7346
7182279         E-mail/Text: Bankruptcy@stearnsbank.com Aug 01 2020 03:12:02      STEARNS BANK,   PO BOX 750,
                 Albany MN 56307
7182280         E-mail/Text: tdor.bankruptcy@tn.gov Aug 01 2020 03:11:59      TENNESSEE DEPARTMENT OF REVENUE,
                 500 DEADERICK STREET,   ANDREW JACKSON STATE OFFICE BUILDING,    Nashville TN 37242
                                                                                             TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 02, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2020 at the address(es) listed below:
              JEFFREY S GRASL   on behalf of U.S. Trustee   US TRUSTEE jeffrey.s.grasl@usdoj.gov
              LEFKOVITZ AND LEFKOVITZ, PLLC   on behalf of Debtor   LIVINGSCAPES, LLC slefkovitz@lefkovitz.com,
               stevelefkovitz@aol.com;sllbkecf@gmail.com;khancock@lefkovitz.com;lefkovitzcvlecf@lefkovitz.com;r5
               2946@notify.bestcase.com;mspezia@lefkovitz.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                            TOTAL: 3




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 Information to identify the case:
 Debtor
                   LIVINGSCAPES, LLC                                                            EIN 47−4773861
                   Name


 United States Bankruptcy Court MIDDLE DISTRICT OF TENNESSEE
                                                                                                Date case filed for chapter 11 7/29/20
 Case number: 3:20−bk−03561


Official Form 309F1 (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       LIVINGSCAPES, LLC


  2. All other names used in the
     last 8 years


  3. Address                                  PO BOX 91047
                                              Nashville, TN 37209

                                              LEFKOVITZ AND LEFKOVITZ, PLLC                              Contact phone: 615 256−8300
  4. Debtor's attorney                        618 CHURCH ST STE 410
      Name and address
                                              NASHVILLE, TN 37219                                        Email: slefkovitz@lefkovitz.com

  5. Bankruptcy clerk's office                701 Broadway Room 170                                      Hours open: 8:00AM−4:00PM
      Documents in this case may be filed     Nashville, TN 37203                                        Monday−Friday
      at this address.
      You may inspect all records filed in
      this case at this office or online at                                                              Contact phone: 615−736−5584
      www.pacer.gov.
                                                                                                         Date: 7/31/20

  6. Meeting of creditors                     August 27, 2020 at 01:00 PM                                 Location:
      The debtor's representative must
      attend the meeting to be questioned     The meeting may be continued or adjourned to
      under oath.
      Creditors may attend, but are not       a later date. If so, the date will be on the court
      required to do so.                      docket.

                                                     *** Valid photo identification required ***

                                                                                                           For more information, see page 2 >




Official Form 309F1 (For Corporations or Partnerships)                   Notice of Chapter 11 Bankruptcy Case                                         page 1




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Debtor LIVINGSCAPES, LLC                                                                                                  Case number 3:20−bk−03561


  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
                                              you another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • you
                                                        your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      •     receive another notice.

                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint: 10/26/20


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                          page 2




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